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                                   STATEMENT OF FACTS

        Your affiant,                , is a Special Agent with the Federal Bureau of Investigation
(“FBI”) assigned to Washington Field Office Joint Terrorism Task Force since April 2021. In my
duties as a Special Agent, I investigate criminal activity pertaining to international and domestic
terrorism. I have received specific training from the FBI relevant to violations of federal law and
various types of investigative methods. My responsibilities as an FBI Special Agent include
investigating threats that are terroristic in nature, including investigating crimes committed by
racially or ethnically motivated violent extremists, anti-government or anti-authority violent
extremists, and other domestic terrorism related matters. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Law enforcement learned that Daniel Amsini (AMSINI) may have entered the U.S.
Capitol building on January 6, 2021, based on open source and social media images of him. The
images showed AMSINI wearing a red hat with white lettering stating “Make America Great
Again,” a dark in color jacket with a white stripe on the front left arm and red stripe on the back
of the left arm, and military style camoflauge pants. AMSINI also had a dark in color string bag,
with a predominately white logo on it.




                                   Image 1 AMSINI Circled in yellow

       Law enforcement located other images of him prior to January 6, 2021, wearing the same
same jacket.



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                                                      Image 2

       Open source material 1 also captured him inside the U.S. Capitol building, entering the
Senate gallery.




                                                      Image 3




1
 source: https://propublica-data-j6cases-videos.s3.us-east-
1.amazonaws.com/c032b810fe03013933e52cde48001122.mp4

                                                      3
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       Law enforcement reviewed CCTV footage and additional open source videos from the
US Capitol Building on January 6, 2021 and confirmed AMSINI’s presence inside it. AMSINI
entered the Senate Wing door at approximately 2:18 PM EST.




                                         Image 4

      AMSINI then walked up stairs to the 3rd floor from the Rotunda Door.




                                         Image 5

        AMSINI proceeded down the East Corridor. AMSINI then walked into Senate Chambers
at approximately 2:48 PM EST.



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                                            Image 6

      Amsini was captured inside the Senate Chambers at approximately 2:49 PM EST.




                                        Image 7

      AMSINI exited the Senate Chambers with the govenrment property at approximately
2:50 PM EST.

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                                    Image 8

AMSINI is seen putting the government property into his string bag.




                                    Image 9




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       AMNSINI then exited the U.S. Capitol Builidng with the bag at approximately 3:06 PM
EST.




                                            Image 10

        The government property was identified, based on screenshots from CCTV footage, as an
ILC Dover Scape CBRN30 escape hood, an advanced air-purifying escape respirator which
provides protection from carbon monoxide, chemical, bioloigcal, radiological and nuclear
contaminants. The device would be utilized for rapid deployment for those individuals
responding to emergency situations. These items are located under the seats in the Senate Gallery
for use in case of emergency. The replacement cost for an ILC Dover escape hood is
approximately $249.

        Law enforcement agents obtained the driver’s license and address for AMSINI. The
driver’s license photo appeared to match the images of the person inside the U.S. Capitol
building included herein. An employment check also indicated that AMSINI resided in
                          .

        On August 17, 2022, law enforcement contacted AMSINI at his residence to confirm his
identity. AMSINI verified that his name was Daniel Bibonge Amsini and that he has resided in
Arlington, Virginia, for the past year. AMSINI provided additional identity documentation in the
form of a Virginia Driver’s License and confirmation of his cellular phone number,
     .

       Law enforcement agents who interviewed AMSINI confirmed that he appears to be the
person in the photos included herein having entered the U.S Capitol building and taken the items
from the Sentate gallery.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
AMSINI violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,

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                                  G. Michael      Digitally signed by
                                  Harvey          G. Michael Harvey
